             Case 2:14-cv-02490-ROS Document 116-2 Filed 08/29/16 Page 1 of 1




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                              IN THE UNITED STATES DISTRICT COURT
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                                  FOR THE DISTRICT OF ARIZONA
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     John J. Hurry, et al.,                           Case No. 2:14-cv-02490-PHX-ROS
 8                              Plaintiffs,           [PROPOSED] ORDER GRANTING
 9   v.                                               MOTION FOR LEAVE TO
     Financial Industry Regulatory Authority          WITHDRAW
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     Incorporated, et al.,                            Assigned to the Honorable Roslyn O. Silver
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                               Defendants.
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            The Court, having reviewed the Motion for Leave to Withdraw and the Certification of
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     Counsel filed by the law firm of Mandel Young plc (“MY”) pursuant to LRCiv 83.3(b)(2) and ER
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     1.16(a)(1), and good cause appearing for the relief requested,
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           IT IS HEREBY ORDERED that the Motion for Leave to Withdraw is granted, and that,
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     effective immediately, MY and its attorney personnel Taylor C. Young, Robert A. Mandel, and
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     Peter A. Silverman may withdraw as attorneys of record for all remaining plaintiffs, including John
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     J. Hurry; Justine Hurry; BRICFM, LLC; FLJH, LLC; Hurry Family Revocable Trust; Investment
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     Services Capital, LLC; Investment Services Corporation; Investment Services Holdings Corp.;
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     SCAINTL LLC; SCAP 4, LLC; SCAP 5, LLC; SCAP 6, LLC; SCAP 7, LLC; SCAP 9, LLC;
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     SCAP III, LLC; and Scottsdale Capital Advisors Partners, LLC, and for all former plaintiffs,
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     including Investment Services Partners, LLC; SCAP 1, LLC; SCAP II, LLC; SCAP 8, LLC; SCAP
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     10, LLC; CJ3, LLC; Association of Securities Dealers, LLC; NEWCONMGT, LLC; ISC, LLC;
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     ISHC, LLC; NEWMGT, LLC; ASD Holding Company, LLC; and Hurry Foundation.
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           DATED this ____ day of August 2016
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